Form BoD
(3005)

In re Kevin A Avard, Case No. 06-10899
Naomi K Avard

 

Debtors

SCHEDULE D. CREDITORS HOLDING SECURED CLAIMS - AMENDED

State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property
of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of securcd interests such as judgment liens,
gamnishments, statutory liens, mortgages, deeds of trust, and other security interests.

List creditors in alphabetical order to the extent practicable. [f a minor child is a creditor, indicate that by stating "a minor child” and do not disclose
the child's name. See 1] U.S.C§112; Fed.R.Bankr.P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor”, include the entity
on the appropriate schedule of creditors. and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the
marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community.” If the
claim is contingent, place an "X" in the column labeled “Contingent”. If the claim is unliquidated, place an "X" in the column labeled "Unliquidated”. If
the claim is disputed, place an "X" in the column labeled “Disputed”. (You may need to place an "X" in more than one of these three columns.)

Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on
the Summary of Schedules.

© sCheck this box if debtor has no creditors holding secured claims to report on this Schedule D.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

C | Husband, Wife, Joint, or Community clulpD AMOUNT OF
CREDITOR'S NAME ° OyN}I
AND HAILING ADDRESS Dlx DATE CLAIM WAS INCURRED, NIL] S WithGUT UNSECURED
INCLUDING ZIP CODE B | NATURE OF LIEN, AND 'faluy — pEDUCTING PORTION, IF
AND ACCOUNT NUMBER TI OSCR pny TUE SIY1e] | VALUE OF ANY
(See instructions above.) RIS SUUIEO TO LIEN E}0|6] COLLATERAL
Account No. 2002 GMC Savannah "IE
oO
GMAC
PO Box 830069
Baltimore, MD 21283-0069 H
Value $ 14,700.00 8,986.48 0.00
Account No. First Mortgage
NovaStar 100 Beech Street, Franklin, NH
PO Box 808911
Kansas City, MO 64184 W
Value S$ 180,000.00 141,820.00 0.00
Account No. Second Mortgage
NovaStar 100 Beech Street, Franklin, NH
PO Box 808911
Kansas City, MO 64184 J
Value $ 180,000.00 35,857.05 0.00
Account No.
Value §$
Subtotal
0 continuation sheets attached 186,663.53
(Total of this page)
Total 186,663.53
(Report on Summary of Schedules)

 

 

 

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Form B6C
(10°05)

In re Kevin A Avard, Case No. 06-10899
Naomi K Avard

 

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Debtors
SCHEDULE C. PROPERTY CLAIMED AS EXEMPT - AMENDED

(Continuation Sheet)

 

. . a: Value of Current Value of
Description of Property Specify Law Providing Claimed Property Without
Each Exemption Exemption Deducting Exemption

 

Machinery, Fixtures, Equipment and Supplies Used in Business
Auto Scrubber-200.00, Buffer-50.00, N.H. Rev. Stat. Ann. § 511:2(IX) 400.00 400.00

Vacuum-100.00, Mops, Brooms & Duster-50.00

Sheet 1 of 1 continuation sheets attached to the Schedule of Property Claimed as Exempt

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Form B6C
(1205)

In re Kevin A Avard, Case No. 06-10899
Naomi K Avard

 

Debtors
SCHEDULE C. PROPERTY CLAIMED AS EXEMPT - AMENDED

Debtor elects the exemptions to which debtor is entitled under: 1 Check if debtor claims a homestead exemption that exceeds
(Check one box) $125,000.

O11 U.S.C. §522(b)(2)

M11 US.C. §522(b)3)

 

 

 

 

 

 

 

 

 

: sas Value of Current Value of
se Specify Law Providing : :
Description of Property pee ‘on Claimed Property Without

Each Exemption Exemption Deducting Exemption
Real Property
100 Beech Street, Franklin, NH N.H. Rev. Stat. Ann. § 480:1 2,322.95 180,000.00
Timeshare N.H. Rev. Stat. Ann. § 511:2(XVIIl) 3,266.00 9,000.00
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
personal checking N.H. Rev. Stat. Ann. § 511:2(XVIII) 100.00 100.00
Frankin Savings Bank-business checking, N.H. Rev. Stat. Ann. § 511:2(XVIII) 1,000.00 1,000.00
personal, checking(2)
Household Goods and Furnishings
ordinary N.H. Rev. Stat. Ann. § 511:2(III) 2,500.00 2,500.00
Books, Pictures and Other Art Objects; Collectibles
books, cd's N.H. Rev. Stat. Ann. § 511:2(VIH) 1,000.00 1,000.00
Wearing Apparel
ordinary N.H. Rev. Stat. Ann. § 511:2(I) 500.00 500.00
Furs and Jewelry
ordinary N.H. Rev. Stat. Ann. § 511:2(XVII) 1,000.00 1,000.00
Firearms and Sports, Photographic and Other Hobby Equipment
cameras N.H. Rev. Stat. Ann. § 511:2(XVIII) 500.00 500.00
Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
Ross Express Inc. 401-k-Naomi N.H. Rev. Stat. Ann. §511:2(X1IX) 16,165.64 16,165.64
American Funds IRA-Kevin N.H. Rev. Stat. Ann. §511:2(XIX) 4,619.11 4,619.11
Stock and Interests in Businesses
T.Rowe Price -Kevin N.H. Rev. Stat. Ann. § 511:2(XVIII) 414.01 414.01
Accounts Receivable
business accounts recievable N.H. Rev. Stat. Ann. § 5114:2(XVIII) 3,270.00 3,270.00
Automobiles, Trucks, Trailers, and Other Vehicles
1995 Mazda Protege N.H. Rev. Stat. Ann. § 511:2(XVI) 4,000.00 500.00
Utility Trailer N.H. Rev. Stat. Ann. § 511:2(IX) 300.00 300.00
2002 GMC Savannah N.H. Rev. Stat. Ann. § 511:2(XVI) 4,000.00 14,700.00

N.H. Rev. Stat. Ann. § 511:2(IX) 1,713.52

Office Equipment, Furnishings and Supplies
computer, printer, fax N.H. Rev. Stat. Ann. § 511:2(IX) 1,000.00 1,000.00

1 continuation sheets attached to Schedule of Property Claimed as Exempt

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Form BéB

(1005)

In re Kevin A Avard,

Naomi K Avard

 

Debtors

Case No. 06-10899

SCHEDULE B. PERSONAL PROPERTY - AMENDED

(Continuetion Sheet)

 

Type of Property

Description and Location of Property

mMZ0Z

Husband, Current Value of
Wife, Debtor's Interest in Property,
Joint, or without Deducting any

Community Secured Claim or Exemption

 

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Uy

Sheet

. Patents, copyrights. and other

intellectual property. Give
particulars.

. Licenses, franchises. and other

general intangibles. Give
particulars.

Customer lists or other compilations
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor
by individuals in connection with
obtaining a product or service from
the debtor primarily for personal,
family, or household purposes.

. Automobiles, trucks, trailers, and

other vehicles and accessories.

Boats, motors, and accessories.

Aircraft und accessories.

. Office equipment, furnishings, and

supplies.

Machinery, fixtures, equipment, and
supplies used in business.

. Inventory.
. Animals.

. Crops - growing or harvested. Give

particulars.

. Farming equipment and

implements.

. Farm supplies, chemicals, and feed.

. Other personal property of any kind

not already listed. Itemize.

<

1995 Mazda Protege
Utility Trailer
2002 GMC Savannah
X
X

computer, printer, fax

Auto Scrubber-200.00, Buffer-50.00,
Vacuum-100.00, Mops, Brooms & Duster-50.00

W 500.00
H 300.00

H 14,700.00

H 1,000.00

H 400.00

 

Sub-Total > 16,900.00

(Total of this page)

Total > 47,968.76

2__ of _2 __ continuation sheets allached

to the Schedule of Personal Property

(Report also on Summary of Schedules)

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In re Kevin A Avard, Case No. 06-10899
Naomi K Avard

 

Debtors
SCHEDULE B. PERSONAL PROPERTY - AMENDED

(Continuation Sheet)

 

Husband, Current Value of
Wife, Debtor's Interest in Property,
Joint, or without Deducting any

Community Secured Claim or Exemption

Type of Property Description and Location of Property

 

<x |} mMZOZ

Il. Interests in an education IRA as
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately the
record(s) of any such interest(s).

11 U.S.C. § 521(c); Rule 1007()).

12. Interests in IRA, ERISA, Keogh, or Ross Express Inc. 401-k-Naomi Ww 16,165.64

other pension or profit sharing
plans. Give particulars. American Funds IRA-Kevin H 4,619.11

13. Stock and interests in incorporated T.Rowe Price -Kevin H 414.01
and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint X
ventures. Itemize.

15. Government and corporate bonds x
and other negotiable and
nonnegotiable instruments.

16. Accounts receivable. business accounts recievable H 3,270.00

17. Alimony. maintenance. support, and X
property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owing debtor x
including tax refunds. Give
particulars.

19. Equitable or future interests, life x
estates, and nghts or powers
exercisable for the benefit of the
debtor other than those listed in
Schedule A - Real Property.

20. Contingent and noncontingent xX
interests in estate of a decedent,
death benefit plan, life insurance
policy, or trust.

21. Other contingent and unliquidated xX
claims of every nature, including
tax refunds, counterclaims of the
debtor, and rights to setoff claims.
Give estimated value of cach.

 

Sub-Total > 24,468.76
(Total of this page)

Sheet_1 of _2 _ continuation sheets attached

to the Schedule of Personal Property
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Form BoB
(10s)

In re Kevin A Avard, Case No. 06-10899
Naomi K Avard

 

Debtors

SCHEDULE B. PERSONAL PROPERTY - AMENDED

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
an "H," "W," "J," or "C" in the column labeled “Husband, Wife. Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the
amount of any exemptions clhiimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in exccutory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

if the property is being held for the debtor by someone clse, state that person's name and address under “Description and Location of Property.”
In providing the information requested in this schedule. do not include the name or address of a minor child. Simply state “a minor child.”

 

Husband, Current Value of
Wife, Debtor's Interest in Property,
Joint, or without Deducting any
Community Secured Claim or Exemption

Type of Propert Description and Location of Property
YP perly

mMZ0Z

 

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1. Cash on hand

2. Checking, savings or other financial personal checking J 100.00
accounts, certificates of deposit, or
shares in banks, savings and loan, Frankin Savings Bank-business checking, J 1,000.00
thrift, building and loan. and personal, checking(2)
homestead associations, or credit
unions, brokerage houses, or
cooperatives.

3. Security deposits with public xX
utilities, telephone companies,
landlords, and others.

4. Household goods and furnishings, ordinary J 2,500.00
including audio, video, and
computer equipment.

5. Books, pictures and other art books, cd's J 1,000.00
objects, antiques, stamp, coin,
record, tape, compact disc, and
other collections or collectibles.

6. Wearing apparel. ordinary J 500.00
7. Furs and jewelry. ordinary J 1,000.00

8. Firearms and sports, photographic, cameras WwW 500.00
and other hobby equipment.

9. Interests in insurance policies. x
Name insurance company of each
policy and itemize surrender or
tefund value of each.

10. Annuities. Itemize and name each Xx
Issuer.

 

Sub-Total > 6,600.00
(Total of this page)

2__ continuation sheets attached to the Schedule of Personal Property

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW HAMPSHIRE

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BK# 06-10899-mwv
Chapter 7

In re: Kevin and Naomi Avard

* * * * *

Debtor(s)

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AMENDMENT TO SCHEDULES

Now comes, Kevin and Naomi Avard to amend schedules-B, schedule-C,
schedule-D and the Statement of Intention. The amendments are attached hereto.

Dated: September 12, 2006 By: ly Timothy P. Smith
Timothy P. Smith, Esq.
67 Middle Street
Manchester, NH 03101
603-623-0036
Attorney for the Debtor
BNH01446

Dated:_September 12, 2006 AK. C7 OC?

Kevin A. Avard, Debtor

r

Naomi K. Avard, Debtor

Dated: September 12, 2006

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